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8                          UNITED STATES DISTRICT COURT
9                         CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11

12   SETH SHAPIRO,                             CASE NO. 2:19-CV-08972-CBM-FFM(x)
13                     Plaintiff,              PLAINTIFF’S OPPOSITION TO
                                               AT&T MOBILITY’S MOTION TO
14         v.                                  DISMISS THIRD AMENDED
                                               COMPLAINT
15   AT&T MOBILITY LLC, et al.
16                     Defendants.             Date: July 20, 2021
                                               Time: 10:00 a.m.
17                                             Court: 8B
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1          Plaintiff SETH SHAPIRO (“Shapiro”) hereby submits his Opposition to the
2    Motion to Dismiss filed by AT&T MOBILITY LLC (“AT&T”)with respect to the
3    Sixth Count for Concealment in the Third Amended Complaint (“TAC”).
4

5    I.    AT&T’s Contentions
6          AT&T’s motion to dismiss is based on two contentions: (1) that Shapiro failed
7    to plead a duty to disclose, and (2) that Shapiro failed to plead that he was unaware of
8    the undisclosed facts and would have acted differently. Neither contention has merit.
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     II.   AT&T Had A Duty To Disclose Its Decision To Not Implement Basic
10         Security Measures To Combat SIM Swaps And Instead Profit From The
           Problem
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           As AT&T acknowledges, the duty to disclose arises when: (1) there is a
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     fiduciary relationship; (2) the defendant makes representations but does not disclose
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     facts which materially qualify the facts disclosed or which render disclosure likely to
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     mislead; (3) the facts known or only accessible only to defendant, who knows they are
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     not known or reasonably discoverable by plaintiff; and (4) the defendant actively
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     conceals discovery from plaintiff. Warner Constr. Corp. v. L.A. (1970) 2 Cal.3d 285,
17
     294. AT&T had a duty to disclose under categories (2) and (3), as addressed below.
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           A.     AT&T Had Duty To Disclose Since It Had Exclusive Possession Of
19                The Failure To Implement Basic Security Measures
           AT&T’s motion to dismiss completely ignores the central allegations of
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     Shapiro’s concealment claim -- that AT&T had not implemented basic security
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     measures to prevent unauthorized SIM swaps because it wanted to profit from the
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     problem. AT&T invested hundreds of million in a joint venture with the other major
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     carriers to profit from the SIM swap problem by marketing an app that shared SIM
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     swap data with financial institutions so that they could block a transfer of funds within
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     “x” time of a SIM swap.
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           The TAC alleges that AT&T failed to implement the following basic security
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     measures to combat SIM swaps: (i) using location detection to verify that the caller
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1    was in the same location as the phone for which the SIM swap was being requested
2    (TAC, ¶150(a)); (ii) sending a text message to authenticate the person requesting the
3    SIM swap (TAC, ¶150(b)); (iii) sending an email to authenticate the person requesting
4    the SIM swap (TAC, ¶150(c)); (iv) using voice biometrics to authenticate a caller
5    requesting a SIM swap over the phone (TAC, ¶150(d); and (v) sharing real-time data
6    with financial institutions to prevent theft once an unauthorized SIM swap has
7    occurred so that the institution can block a requested currency transfer if there has been
8    a SIM swap within a specified time frame (e.g., within 48 hours of the transfer
9    request), since a very recent SIM swap combined with a withdrawal request is a strong
10   indicator of fraud (TAC, ¶150(e)).
11         The TAC also alleges that AT&T didn’t implement the foregoing basic security
12   measures because it had invested hundreds of millions in a for-profit venture now
13   known as ZenKey which is being marketed to banks and other financial institutions as
14   a post-SIM swap solution to prevent the theft of funds after a SIM swap has occurred.
15   (TAC, ¶¶ 152-154). However, AT&T has not had any success in marketing ZenKey
16   to any financial institutions. (Id.). The foregoing allegations are plausible because they
17   are largely derived from ZenKey’s own publicly available data as referenced in the
18   TAC (¶¶152-154, fns. 115-124) (Shapiro notes that ZenKey recently changed its
19   website content to de-emphasize the central role that unauthorized SIM swaps played
20   in its messaging; however, the original content remains available on archive.org.).
21         The Sixth Count for concealment incorporates the foregoing allegations, and
22   further alleges that ATT had “dangerously poor data security practices and that i[t] was
23   motivated to profit from SIM swaps rather than correct the problem” (TAC, ¶262);
24   knew that “its security measures were ineffective in preventing the fraud” (¶260); that
25   “Mr. Shapiro was unaware that AT&T’s security measures did not include low cost
26   and readily available solutions which would have prevented his SIM swap and
27   resulting theft” (TAC, ¶259); and had AT&T made such disclosures “Mr. Shapiro
28   would have taken further measures to protect himself and would have ceased being a

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1    customer of AT&T.”
2          AT&T had exclusive knowledge of the measures that it had failed and refused to
3    implement, and its reasons for doing so. The vague and general disclosures in the
4    Privacy Policy were not sufficient to inform Shapiro that AT&T had not implemented
5    the basic security measures referenced above. The Privacy Policy, attached to the
6    TAC as Exhibit G, contains the following disclosures at pages 25-26:
7          We've worked hard to protect your information. And we've established
8          electronic and administrative safeguards designed to make the
           information we collect secure. Some examples of those safeguards
9
           include:
10
            We've implemented technology and security features and strict policy
11           guidelines to safeguard the privacy of your Personal Information.
12           Some examples are:

13            o Maintaining and protecting the security of computer storage and
14              network equipment, and using our security procedures that require
                employee user names and passwords to access sensitive data;
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              o Applying encryption or other appropriate security controls to
16
                protect Personal Information when stored or transmitted by us;
17
              o Limiting access to Personal Information to only those with jobs
18              requiring such access; and
19
              o Requiring caller/online authentication before providing Account
20              Information so that only you or someone who knows your Account
                Information will be able to access or change the information.
21

22            o Although we strive to keep your Personal Information secure, no
                security measures are perfect, and we cannot guarantee that your
23              Personal Information will never be disclosed in a manner
24              inconsistent with this Policy (for example, as the result of
                unauthorized acts by third parties that violate the law or this Policy)
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26         None of the foregoing disclosures in the Privacy Policy can reasonably be

27   construed to have put Shapiro on notice that AT&T had failed to implement basic,

28   low-cost measures to prevent SIM swaps. The disclosure that its security was not


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1    “perfect” is less than revealing: nothing is perfect. The disclosure that AT&T can’t
2    “guarantee” that “Personal Information” will never be disclosed doesn’t even mention
3    SIM swaps. AT&T’s motion misdirects attention to the fact that Shapiro knew that an
4    unauthorized SIM swap was possible. Knowing that an unauthorized SIM swap can
5    occur is very different than knowing that your carrier has not taken basic steps to
6    prevent such an occurrence such that the risks are dramatically increased.
7          AT&T cannot dispute that it had sole knowledge of (i) the actual measures
8    implemented to prevent unauthorized SIM swaps; (ii) its failure and refusal to
9    implement basic and low-cost solutions; and (iii) that it was seeking to profit from the
10   SIM swap problem by investing hundreds of millions into a post-SIM swap solution
11   that is being marketed to every financial institution in the country.
12         B.     AT&T’s Misleading Representations About Security
13         AT&T’s representations in its Privacy Policy, as set forth above, were
14   misleading for the following reasons:
15         First, AT&T gave the false impression that it was doing everything in its power
16   to precent security violations: “… we strive to keep your Personal Information secure.”
17   However, it failed to disclose that it had not implemented basic security measures,
18   referenced above, i.e., location detection to verify that the caller was in the same the
19   location as the phone for which the SIM swap was being requested; sending a text
20   message to authenticate the person requesting the SIM swap; sending an email to
21   authenticate the person requesting the SIM swap; using voice biometrics to
22   authenticate a caller requesting a SIM swap over the phone; and sharing real-time data
23   with financial institutions to prevent theft once an unauthorized SIM swap has
24   occurred so that the institution can block a requested currency transfer.
25         Second, AT&T’s disclosure that “no security measures are perfect” does not
26   reveal the truth: that basic measures had not been implemented. The disclosure that
27   AT&T “cannot guarantee that your Personal Information will never be disclosed in a
28   manner inconsistent with this Policy (for example, as the result of unauthorized acts by

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1    third parties that violate the law or this Policy)” does not absolve AT&T of
2    responsibility. This disclosure does not even address the risk of SIM swaps and does
3    not reveal that AT&T failed and refused to implement basic security measures to
4    prevent unauthorized SIM swaps because it had decided instead to profit from the SIM
5    swap problem instead of preventing it.
6           AT&T’s reliance on a decision in the Terpin case is misplaced. The Terpin
7    Complaint did not include allegations that AT&T had failed to implement basic
8    security measures, and had instead decided to profit from the SIM swap problem rather
9    than prevent it, as alleged in the TAC.
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     III.   Shapiro Adequately Pled That He Was Unaware Of The Facts And Would
11          Have Acted Differently Had He Known The Truth
12          Contrary to AT&T’s allegation, Shapiro has adequately pled that he was
13   unaware of the key facts. AT&T engages in misdirection when it equates Shapiro’s
14   knowledge that an unauthorized SIM swap can occur with his supposed knowledge of
15   the charging allegations that AT&T had not implemented the basic security measures
16   referenced above because it wanted to profit from the problem rather than fix it.
17   AT&T is comparing apples to oranges. Shapiro did not know, and could not have
18   known, that AT&T was paying lip service to the SIM swap problem because it wanted
19   to make money from it.
20          Shapiro has adequately and plausibly pled that he would have acted differently
21   had he known the truth: “Had AT&T disclosed the true facts about its dangerously
22   poor data security practices and that is was motivated to profit from SIM swaps rather
23   than correct the problem, Mr. Shapiro would have taken further measures to protect
24   himself and would have ceased being a customer of AT&T.” (TAC, ¶262).
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26   IV.    Conclusion
27          For all the foregoing reasons Shapiro requests that the motion to dismiss be
28   denied.

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4                                            Christopher Grivakes
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